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                                                          MICHAEL J. KANE
                                                          SHAREHOLDER
                                                          p. 215.875.4686 mkane@bm.net



                                            October 1, 2024

    VIA ECF

    The Honorable Margo K. Brodie
    United States District Court
     for the Eastern District of New York
    225 Cadman Plaza East
    Courtroom 6F
    Brooklyn, NY 11201

    Re:    In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation,
           No. 1:05-MD-1720 (MKB)(JO)

    Dear Judge Brodie:

    We write regarding Rule 23(b)(3) class member Marcel McAllen, LLC and Marcel
    Enterprises, Inc. (collectively “Marcel”) who opted out of the settlement on July 23,
    2019. Marcel was included in Exhibit 1 to the Final Approval Order (ECF No. 7818)
    listing the members of the Rule 23(b)(3) Settlement Class that validly excluded
    themselves from the Class and became an Opt Out.

    Marcel has now informed the Claims Administrator (Epiq) that it would like to withdraw
    its Opt Out. If Marcel is permitted to rejoin the class, the claim is likely to be very small.
    Rule 23(b)(3) Class Counsel do not oppose Marcel’s request.

    Respectfully submitted,


     /s/ Ryan W. Marth              /s/ Michael J. Kane             /s/ Alexandra S. Bernay
     Ryan W. Marth                  Michael J. Kane                 Alexandra S. Bernay
     K. Craig Wildfang              Berger Montague PC              Patrick J. Coughlin
     Thomas J. Undlin                                               Robbins Geller Rudman
     Robins Kaplan LLP                                                & Dowd LLP

    cc:    All Counsel via ECF




                                                                     1818 MARKET STREET, SUITE 3600
                                                                     PHILADELPHIA, PA 19103
                                                                     215.875.3000 BERGERMONTAGUE.COM
